
630 N.E.2d 794 (1994)
155 Ill.2d 569
196 Ill.Dec. 629
PEOPLE, State of Illinois, Respondent,
v.
Johnny GILSON, Petitioner.
No. 76090.
Supreme Court of Illinois.
April 6, 1994.
In the exercise of this Court's supervisory authority, this cause is REMANDED to the Appellate Court, Third District. The appellate court is ordered to reconsider its judgment in case Nos. 3-92-0901, 3-92-0902 and 3-92-0903 in light of People v. Janes (1994), 158 Ill.2d 27, 196 Ill.Dec. 625, 630 N.E.2d 790.
